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          IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                8:08CR194
                              )
          v.                  )
                              )
PERCY E. GRANT,               )                      ORDER
                              )
                Defendant.    )
______________________________)


          IT IS ORDERED that the Public Defender shall appoint

Wesley S. Dodge, 11414 West Center, Suite 333, Omaha, Nebraska,

68144-4420, to represent defendant.        Sentencing in this matter is

scheduled for:

                 Friday, January 16, 2009, at 9:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 7th day of January, 2009.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
